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                                                 Page 1                                                       Page 3
 1       IN THE UNITED STATES DISTRICT COURT               1
                                                           2     APPEARANCES: (all appearing virtually)
           NORTHERN DISTRICT OF ILLINOIS                   3        Mr. Max A. Stein
 2             EASTERN DIVISION                                     Boodell & Domanskis
 3   SEC,                  )                               4        1 North Franklin
                       )                                            Suite 1200
                                                           5        Chicago, Illinois 60606
 4           Plaintiff, )                                           312.938.4070
                       )                                   6        mstein@boodlaw.com
 5     vs.               )No. 18-cv-5587                             on behalf of certain investors;
                       )                                   7
                                                                     Mr. Michael Kurtz.
 6   EQUITYBUILD, INC., et al., )                          8         Kurtz & Angenlicht
                       )                                             123 West Madison Street
 7           Defendants. )                                 9         Suite 700
                                                                     Chiago, Illinois 60602
 8                                                        10         312.265.0106
 9          The virtual deposition of MARIBEL MORALES,               mkurtz@kalawchicago.com
10   taken pursuant to subpoena in accordance with the  11            on behalf of 1839 Fund I, LLC;
11   Federal Rules of Civil Procedure of the United     12           Mr. Steven M. Malina
                                                                     Greenberg Traurig
12   States District Courts pertaining to the taking of 13           77 West Wacker Drive
13   depositions, taken before PEGGY CURRAN, CSR, CRR,               Suite 3100
14   RPR, CSR License No. 084-002016, a notary public   14           chicago, Illinios 60601
                                                                     312.476.5133
15   within and for the County of DuPage and State of   15           malinas@gtlaw.com
16   Illinois, taken on Wednesday, November 3, 2021,                  on behalf of the deponent.
17   commencing at about the hour of 10:00 a.m.         16
18                                                        17 Also Present: (all appearing virtually)
                                                          18        Ms. Valentina Salge
19                                                                  Mr. Mark Young
20                                                        19        Mr. Robert Jennings
21                                                        20
22                                                        21
                                                          22
23                                                        23
24                                                        24

                                                 Page 2                                                       Page 4
 1 APPEARANCES: (all appearing virtually)
 2      Ms. Alyssa A. Qualls                               1                    INDEX
        U.S. Securities and Exchange                       2   WITNESS                       PAGE
 3      Commission
        175 West Jackson Boulevard                         3   MARIBEL MORALES
 4      Suite 1450
        Chicago, Illinois 60604                            4   EXAMINATION - By Ms. Qualls         5
 5      312.886.2542
        quallsa@sec.gov                                    5   EXAMINATION - By Ms. Wine           68
 6        on behalf of U.S. Securities &                   6   EXMAINATION - By Mr. Stein         82
          Exchange Commission;
 7                                                         7   EXAMINATION - By Mr. Kurtz         94
        Ms. Jodi Rosen Wine
 8      Rachlis Duff & Peel, LLC.                          8   FURTHER EXAMINATION - By Ms. Qualls            98
        542 South Dearborn
 9      Suite 900                                          9   FURTHER EXAMINATION - By Ms. Wine              99
        Chicago, Illinois 60605                           10   MORALES EXHIBITS                 FOR ID
10      312.275.5108
          on behalf of Kevin B. Duff, Federal             11    No. 1                      6
11        Equity Receiver for the Estate of
          EquityBuild, Inc., etc.                         12    No. 2                     28
12
        Mr. Todd Gale                                     13    No. 6                     76
13      Dykema                                            14    No. 7                     35
        10 South Wacker Drive
14      Suite 2300                                        15    No. 8                     42
        Chicago, Illinois 60606
15      312.627.8322                                      16    No. 9                     48
        tgale@dykema.com
16         and                                            17    No. 10                     50
        Mr. David E. Hart                                 18    No. 11                     54
17      maddin, Hauser, Roth & Heller, P.C.
        28400 Northwestern Highway                        19    No. 12                     55
18      Second Floor
        Southfield, Michigan 48034                        20    No. 13                     57
19      248.827.1884
        dhart@maddinhauser.com                            21    No. 14                     62
20        on behalf of BC57; .                            22    No. 16                     66
21
22                                                        23    No. 17                     99
23
24                                                        24
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 1        MS. QUALLS: Good morning, Ms. Morales. Are          1      Q Okay. This is a revised one that has
 2                  you there?                                2   the right date, 11/3 at 10:00 a.m.
 3       THE WITNESS: Yes. Good morning.                      3      A Okay.
 4       MS. QUALLS: Good morning. My name is Alyssa          4      Q Great. I will stop sharing that.
 5   Qualls and I am a trial attorney with the                5           Have you ever been deposed before?
 6   U.S. Securities and Exchange Commission.                 6      A No.
 7           How are you today?                               7      Q Let's go over some ground rules.
 8       THE WITNESS: I'm good. Thanks. How are you?          8   Depositions are somewhat challenging, and even more
 9       MS. QUALLS: Fine.                                    9   so in these times of Zoom. So I wanted to go over
10             (Driver's license shown.)                     10   just what we will be doing today.
11               (Witness virtually duly sworn.)             11           It's important that we -- that you are
12               MARIBEL MORALES,                            12   able to hear each of my questions. So if you can't
13   called as a witness herein, having been first           13   hear one of my questions, will you let me know?
14   virtually duly sworn, was examined and testified as     14      A Sure.
15   follows:                                                15      Q Okay. It's also important that you
16               EXAMINATION                                 16   understand each of my questions. If you can't
17       By Ms. Qualls:                                      17   understand one of my questions, will you also let
18       Q Ms. Morales, please state and spell your          18   me know that?
19   name for the record.                                    19      A Yes.
20       A My name is Maribel Morales,                       20      Q Okay. So if I ask a question and you
21   M-a-r-i-b-e-l. Morales is M-o-r-a-l-e-s.                21   give an answer, I am going to assume you heard and
22       Q Are you alone in the room there today?            22   you had understood the question and answered it to
23       A I am.                                             23   the best of your ability.
24       Q What is your occupation?                          24           Does that sound fair?
                                                    Page 6                                                      Page 8
 1       A I'm a national title coordinator.                  1        A Understood.
 2       Q Where are you a national title                     2        Q Okay. We have a court reporter here
 3   coordinator?                                             3   today. She can't record a nonverbal answer, so
 4       A Lincoln Land Services.                             4   it's important that all of your answers are verbal.
 5       Q All right. I would like -- do you have             5   And you can't say uh-huh or things like that or
 6   access to a dropbox that was sent to you earlier         6   shake your head. She needs to hear the words to
 7   today?                                                   7   record it.
 8       A I do, but I'm having a little technical            8            Do you understand that?
 9   difficulty with my work computer, so that's why I'm      9        A Understood.
10   on my other laptop. So I might have to be -- I          10        Q Okay. And it's also -- this is the
11   might have to open it through my -- we are having       11   hardest one for Zoom -- it's important that we not
12   issues with our server.                                 12   speak at the same time because she will have
13                (A document was marked as Morales          13   difficulty recording it and because the technology,
14                 Deposition Exhibit No. 1 for              14   we are not going to hear each other. So I would
15                 identification.)                          15   ask that you allow me to finish my question in
16       By Ms. Qualls:                                      16   their entirety, even if you think you might know
17       Q Let me see if I can show it to you by             17   what I am going to say, and then I will by the same
18   sharing my screen. Are you seeing --                    18   token allow you to finish your complete answer
19       A That works.                                       19   before I ask the next question.
20       Q Okay. There is a subpoena to you,                 20            Does that sound acceptable to you?
21   Maribel Morales. I am marking this as Exhibit 1.        21        A It does.
22            Are you appearing here today pursuant to       22        Q Okay. If you need a break, just let me
23   this subpoena?                                          23   know and we will do our best to accommodate you.
24       A I am. It has the wrong date though.               24            Does that sound okay.
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 1       A Sounds good.                                   1   directly for insurer providers, for the bigger like
 2       Q Okay. Have you done anything to prepare        2   Fidelity, Chicago Title, Stewart, First American.
 3   for your deposition here today?                      3       Q When you say they underwrite
 4       A I have with Steve Malina, with my              4   transactions, what do you mean by that?
 5   attorney.                                            5       A Underwriting is you review a report
 6       Q When did you meet with your attorney in        6   that's provided by an examiner and reader and you
 7   preparation for the deposition today?                7   decide if these documents that are pulled from the
 8       A Via calls maybe a week ago.                    8   record affect the parcel that's being insured.
 9       Q How many calls approximately?                  9       Q Okay. The insurance is title insurance;
10       A I would say maybe three.                      10   is that correct?
11       Q And approximately how long did they           11       A Correct.
12   last?                                               12       Q You said you were the national -- I am
13       A First one about an hour. Second about         13   sorry.
14   half an hour. And last was like 15 minutes,         14           What he is your exact title?
15   20 minutes, give or take.                           15       A National title coordinator.
16       Q Did you speak to anyone else in               16       Q National title coordinator.
17   preparation for your deposition here today?         17           What does the national title coordinator
18       A No.                                           18   do?
19       Q Did you review any materials in               19       A A national title coordinator, as myself,
20   preparation for your deposition here today?         20   usually receives an order. I can either receive it
21       A We did.                                       21   from a client directly or I could receive it from a
22       Q Do you recall what you reviewed?              22   salesperson. We coordinate with staff of Lincoln
23       A Documents pertaining to the                   23   Land Services who and where we are going to place
24   transaction.                                        24   it.
                                               Page 10                                                       Page 12
 1      Q Can you provide me some background on 1                     There are cases where we are licensed.
 2   your education. Where did you go to school?        2     And if we are licensed, then we would handle it and
 3      A Canisius College in Buffalo, New York.        3     underwrite it ourself. If we are not, we usually
 4      Q When did you graduate?                        4     work with other local offices.
 5      A 1993.                                         5         Q So you need to -- is it correct you need
 6      Q Did you have any other post-secondary         6     to be licensed in the location where the property
 7   education?                                         7     is located to --
 8      A That's all.                                   8         A Yes, you have -- sorry.
 9      Q Do you have any professional licenses?        9         Q -- underwrite -- okay.
10      A No, I don't.                                 10             And you mentioned when you were
11      Q You mentioned you are currently employed 11         describing what a title agent does, you said you
12   by -- or that your current -- I don't know if you 12     reviewed a report provided by an examiner.
13   said.                                             13             Are you the person who reviews the
14           Who is your current employer?             14     report?
15      A Lincoln Land Services.                       15         A I'm not a reader, no.
16      Q What is Lincoln Land Services?               16         Q So what does a reader mean?
17      A They are a title agent.                      17         A A reader receives a raw product from an
18      Q Where are they based?                        18     examiner in the field or from -- unless they do it
19      A They are based in Rhode Island.              19     computer now, everything is computer -- who looks
20      Q What is a title agent?                       20     at parcel numbers or anything that connects the
21      A I'm sorry?                                   21     property with documents recorded against it. And
22      Q Sorry. What is a title agent?                22     they produce sort of like a report that's given to
23      A A title agent is a branch of title           23     the reader.
24   insurance who are able to underwrite transaction 24              The reader then takes it and examines
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 1   these documents and confirm or sets it up for a      1            A Management.
 2   commitment. Then it is typed and set as a            2            Q What title would that person have?
 3   commitment.                                          3            A It could be office manager. I am not
 4       Q The reader makes the determination of          4        sure. Production manager.
 5   whether there is going to be a commitment?           5            Q And so as the national title
 6       A They don't make the decision, no. No.          6        coordinator, what would your role typically be in
 7   A reader creates the commitment.                     7        underwriting?
 8       Q Okay. So then the commitment is then           8            A Depending on the situation and depending
 9   the review of all the relevant documents to          9        on the transaction. If we are issuing it directly,
10   determine whether to issue the title insurance?     10        then I would get the commitment and forward it on
11       A Correct.                                      11        to the client.
12       Q So the reader puts together the               12                And if they have comments or questions
13   commitment. Where does the commitment go after 13             or concerns with the report, their review, they
14   that?                                               14        would provide it to us and then we would review it.
15       A The commitment is what a title insurer        15                If it's -- if we are acting as like the
16   commits to their client or to whoever has asked for 16        liaison between another title office or another
17   this commitment. So it would be -- you know, it     17        agent or another underwriter for our client, I
18   could be the counsel, it could be the direct client 18        would receive the product and/or someone in Lincoln
19   who requested it. But it's provided to whoever      19        would receive the product and toward forward it on
20   requested the commitment, a report.                 20        to the client.
21       Q So if the reader doesn't make the final       21                We still receive comments and, you know,
22   determination of whether to issue the commitment, 22          based on their review, but we hand it off to the
23   who does?                                           23        licensed local office.
24       A I guess I don't understand your               24            Q In that instance is the reader a person
                                                    Page 14                                                       Page 16
 1   question.                                                 1   in a licensed local office?
 2       Q Okay. Well, I guess from what you said,             2       A Correct.
 3   I understood that a reader looks at the raw data on       3       Q Were you the national coordinator at
 4   the property and makes a decision about -- and puts       4   Lincoln Land in September 2017?
 5   together a report, right, that is used to make a          5       A Yes.
 6   commitment?                                               6       Q So what is title insurance?
 7       A Uh-huh.                                             7       A Title insurance, real estate title
 8       Q Is that correct?                                    8   insurance, is providing an insurance of past
 9       A Correct.                                            9   events. Pretty much documents on record that
10       Q And then ultimately the commitment is              10   affects a parcel. And what we normally insure is
11   provided to the client indicating that the title         11   two things. We could insure an owner that they are
12   company is willing to issue title insurance on the       12   the sole owner of that property, of that parcel.
13   subject property; is that right?                         13   Or we insure a lender that they are the first lien
14       A Correct.                                           14   holder if that's what they choose to be.
15       Q So is it the reader's decision that the            15       Q So in the second example where you are
16   chain of title is good and that there should be a        16   insuring a lender to be the first lien holder, what
17   policy issued --                                         17   does the policy insure against?
18       A I suppose --                                       18       A Any liens that were not picked up that
19       Q -- or is it someone else?                          19   could trump -- that could affect or disqualify them
20       A I suppose it's the reader, yeah.                   20   as being the first lien holder. The lender that
21       Q Okay. What is your role relative to the            21   is.
22   reader? Do you supervise the reader?                     22       Q So if the lender -- if it turns out that
23       A I do not.                                          23   the lender is not the first lien holder, a title
24       Q Who supervises the reader?                         24   insurance policy would pay them for their losses;
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                                                 Page 17                                                     Page 19
 1   is that right?                                         1       A That was in the period of I would say
 2       A For a claim, correct.                            2   2000 to like 2004.
 3       Q Okay. Now, if the title insurance                3       Q How long have you been with Lincoln
 4   company is going to provide a title insurance for a    4   Land?
 5   lender that wants to be a first lien holder, what      5       A I have been here since January 2014.
 6   steps does the title insurance company take before     6       Q Have you had the national title
 7   making a commitment?                                   7   coordinator title the whole time?
 8       A We usually ask if they have a prior              8       A Yes, I have.
 9   policy, usually preferably an owner's policy. And      9       Q If the examiner finds a prior -- an
10   then we send it out to the field, to the examiner     10   existing mortgage -- let me withdraw that.
11   to do their research. And then once the research      11          What's a release?
12   is done, it's provided to the reader. The reader      12       A A release depends upon what it is
13   reads it in and sets it up for a commitment. And      13   releasing. It releases a document, but you just
14   then it's provided to the lender, the lender's        14   need to know what kind of -- what it's releasing.
15   counsel for their review.                             15       Q What about a release deed?
16       Q When it's sent to the reader, what is           16       A A release deed?
17   the reader looking for in particular?                 17       Q Yes.
18       A What is the reader looking for. They            18       A Is it a release deed of trust or release
19   are looking to see if any documents -- what           19   deed -- I am not sure.
20   documents that was pulled by the examiner affects     20       Q Release deed of a mortgage.
21   the actual property.                                  21       A It would release the document of
22       Q What kind of documents -- I am sorry,           22   record.
23   you finish.                                           23       Q So is one of the -- if you are going to
24       A There could be documents like, you know,        24   be providing title insurance to a lender who is
                                                 Page 18                                                     Page 20
 1 a deed, mortgages, lis pendens, you know, to         1       taking on the role of refinancing a property and
 2 that -- anything that could link itself to the       2       wants to be the first lien holder, what would you
 3 property.                                            3       or would the title agent have any role in insuring
 4     Q If the examiner finds a recorded               4       that the prior mortgage is released?
 5 mortgage on the property, what steps would be taken  5            A Yes, we would.
 6 then?                                                6            Q What role would you have?
 7     A The examiner would just either note it         7            A Again, it depends whether we are
 8 on their exam sheet. They would take a picture --    8       insuring it directly or we are giving it to another
 9 a picture. They would make a copy of the first       9       licensed local.
10 page sometimes or they would do the whole document. 10            Q If you were giving it to a licensed
11         I used to exam. What I used to do at        11       local, what would happen?
12 that time was just take a photocopy of the first    12            A They would receive -- are you referring
13 page, the legal description, to confirm that it     13       to the release?
14 affects the property.                               14            Q Yes.
15     Q What period of time were you an               15            A Okay. They would review the release to
16 examiner?                                           16       confirm that the lender is the same lender as the
17     A I was an examiner for 2004 to 2007.           17       lender on title. They would confirm the recording
18     Q Was that at Lincoln Land?                     18       information is correct. And they would also
19     A That was at Chicago Title.                    19       confirm the legal description is correct.
20     Q Have you ever been a reader?                  20            Q Once it's signed, they would ensure that
21     A I read a little, but it was just for          21       it's recorded?
22 condos, commercial condos. And that was with        22            A They would file it of record.
23 Fidelity National Title.                            23            Q Okay. In a release deed, which entity
24     Q When was that?                                24       is typically releasing its claim on the subject
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 1   property, is it the lender or the borrower?            1   the roles of an examiner and reader; is that
 2        A The lender.                                     2   right?
 3        Q Are you familiar with a transaction             3       A Correct.
 4   involving BC57 for financing of five properties in     4       Q In this instance, did the examiner --
 5   Illinois that closed in approximately September        5   were the examiner and reader employed by Near
 6   2017?                                                  6   North?
 7        A I believe I have been made aware of it          7       A I'm not sure how because sometimes there
 8   because of the whole deposition. And I do -- I was     8   is independent examiners, so just pay a fee. So I
 9   involved in it.                                        9   am not sure how Near North runs their headquarters.
10        Q Do you have an independent memory of           10   They just provided us with a commitment, with the
11   being involved in it?                                 11   finished product, for our client.
12        A Not until it was brought up to my              12       Q So the examiner was not an employee of
13   attention.                                            13   Lincoln Land; is that right?
14        Q Okay. Are you familiar with an entity          14       A The examiner was not an employee of
15   called Bloomfield Capital or BC57?                    15   Lincoln Land, correct.
16        A I am.                                          16       Q The reader wasn't an employee of
17        Q And have you done any -- you through           17   Lincoln Land?
18   Lincoln Land, done any title work for Bloomfield      18       A The reader was not an employee of
19   Capital before the transaction that we are talking    19   Lincoln Land, that's correct.
20   about here involving the five properties?             20       Q Lincoln Land did not make the
21        A We might. We may have, yes.                    21   commitment?
22        Q Do you recall those other                      22       A Correct.
23   transactions?                                         23       Q So Near North made the commitment, and
24        A Not specifically, but I'm sure we              24   you are not aware, is it correct to say, you are
                                                 Page 22                                                       Page 24
 1   have.                                                  1   not aware of who was -- whether it was a Near North
 2       Q Okay. Do you recall who retained                 2   employee or an independent agent who was the
 3   Lincoln Land for the transaction involving the five    3   examiner or the reader?
 4   properties in Illinois?                                4       A Yes, that's correct.
 5       A It would have been someone from                  5       Q In this refinancing, you mentioned that
 6   Bloomfield reaching out to us.                         6   Lincoln Land was the coordinator and that you
 7       Q Bloomfield was the lender; is that               7   served as a liaison between BC57 and the local
 8   right?                                                 8   agent Near North; is that right?
 9       A Correct.                                         9       A That's correct.
10       Q What role did Lincoln Land have on the          10       Q As the liaison, did Lincoln Land have
11   BC57 refinancing of these five properties?            11   any substantive role in reviewing the commitment?
12       A Lincoln was the coordinator, the liaison        12       A No. We usually just receive it and send
13   between BC57 and the local agent.                     13   it over to the client. We just make sure sometimes
14       Q Who was the local agent?                        14   just to read and make sure, like this is the
15       A I believe in this one it was                    15   attachment, we will open it up, it's like okay,
16   Near North.                                           16   this is the proper people, and then send it over.
17       Q Where is Near North located?                    17   We will look at Schedule A.
18       A Chicago, Illinois.                              18       Q Would you have had or anyone at
19       Q Did Near North provide the title                19   Lincoln Land have had any role in determining
20   insurance policy for this transaction?                20   whether the commitment was proper or in order?
21       A Correct.                                        21       A No. I didn't.
22       Q And in your prior explanation of how it         22       Q Who did you work with at Near North?
23   typically worked when Lincoln Land is a               23       A I can't recall exactly.
24   coordinator, but not the local agent, you mentioned   24       Q Henry Marmol, do you know who that is?
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 1       A What was the last name?                           1   anyone else from Near North who worked on this
 2       Q Marmol, M-a-r-m-o-l, Henry Marmol.                2   transaction?
 3       A Yes.                                              3       A No, I don't. I can't recall.
 4       Q Was he at Near North?                             4       Q Do you know who the examiner was at
 5       A Yes.                                              5   Near North?
 6       Q Do you know if he worked on this                  6       A No, I don't.
 7   transaction?                                            7       Q Do you know who the reader was at
 8       A I believe he did, yes. He was --                  8   Near North?
 9       Q Okay. What was he?                                9       A I do not.
10       A I believe he was either a title officer          10       Q How were the fees split up when
11   or -- I'm not sure exactly his title. I think he       11   Lincoln Land acts as a liaison to a local title
12   was a title officer.                                   12   office, how are the -- how do you split the title,
13       Q When you say a title officer, does that          13   various title fees?
14   mean he was a reader or an examiner?                   14       A We usually negotiate or we have an
15       A No. Different.                                   15   understanding with the local offices. And it could
16       Q Sorry for the confusion.                         16   be a split in which that we just send them an
17            So if you are a title officer, what role      17   invoice for a fee and they just -- they pay us
18   is that?                                               18   after. It wouldn't appear on the settlement
19       A A title officer is the front person that         19   statement.
20   works with the client or the parties interested in     20       Q That's what I was going to ask.
21   the commitment who have comments, concerns.            21           So all the fees generally go to the
22            And in this case, he was the person that      22   entity that's issuing the title policy and acting
23   I would talk to about the commitment.                  23   as the escrow agent, and then any split is settled
24       Q Is it fair to say he was your                    24   on the back end?
                                                  Page 26                                                    Page 28
 1   counterpart at Near North?                           1           A Correct.
 2       A Correct. He was my contact.                    2           Q Do you recall what the split was with
 3       Q Okay. Another name I have seen is              3      Near North in this case?
 4   Kristen Cristia, C-r-i-s-t-i-a. Do you know who      4           A I do not recall.
 5   that is?                                             5           Q In this refinancing, BC57 was seeking a
 6       A I do.                                          6      lender's policy; is that right?
 7       Q Okay. Does she work at Near North?             7           A Correct.
 8       A She does. She did at that time.                8           Q It wanted to be the first lien holder on
 9       Q What was her role?                             9      the five properties?
10       A I believe she was the settlement escrow       10           A Yes.
11   officer.                                            11           Q Okay. I wanted to refer you to
12       Q Okay. The settlement escrow officer,          12      Exhibit 2 through 6, which are the underlying
13   what do they do?                                    13      mortgages on the five properties. Do you want me
14       A A settlement escrow officer, they draft       14      to pull them up? Do you have the dropbox to pull
15   the settlement statement for third-party vendors    15      it up?
16   and they also provide the settlement statement with 16           A I don't think our system is still up.
17   their invoice for title premium. They would put     17      It's still down.
18   the payoff letter in the settlement statement.      18                    (A document was marked as Morales
19   They would do things like that.                     19                     Deposition Exhibit No. 2 for
20       Q Did they have any role in reviewing the       20                     identification.)
21   payoff letters?                                     21           By Ms. Qualls:
22       A They confirm wire instructions.               22           Q I will pull it up. Do you see this
23       Q Okay. Other than Henry Marmol and             23      document which I have called Morales Exhibit 2?
24   Kristen, do you know anyone else -- do you recall 24             A I do, I see it.
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                                                  Page 29                                                       Page 31
 1        Q Okay. Do you see that this is for one            1   cover page.
 2   of the five properties, it's called Cheltenham          2       Q Right. Who writes that, who prepares
 3   Place, 3074 Cheltenham Place in Chicago,                3   that?
 4   Illinois?                                               4       A It could either be the lender. I'm not
 5        A I see it.                                        5   sure in this case exactly who would have prepared
 6        Q Okay. And I will just scroll through it          6   it because it's part of the loan document.
 7   so you can see what it looks like.                      7       Q The mortgage itself is what's attached
 8            In connection with your work on the BC57       8   to it; is that right?
 9   refinancing, did you have occasion to look at the       9       A Correct.
10   underlying mortgages?                                  10       Q Looking at the first page of the
11        A Not specifically, no.                           11   mortgage, do you see that?
12        Q Okay. That wasn't your role?                    12       A Okay.
13        A Correct. That was not.                          13       Q And it says here in the second
14        Q And whose role was that, just so we have        14   paragraph, this security instrument is given to the
15   a clear record?                                        15   persons listed on Exhibit A to the mortgage, care
16        A Well, usually the examiner reader would         16   of EquityBuild Finance, LLC. And it gives an
17   put it there, and the title officer would note that    17   address.
18   it's on record, and it's something that needs to be    18             Do you see that?
19   satisfied or released of record.                       19       A I do.
20        Q Okay. Do you have any independent               20       Q Okay. Now, so who is the lender in this
21   recollection of having reviewed this mortgage?         21   mortgage?
22        A I do not.                                       22       A I would say the persons listed, as well
23        Q Do you see here that EquityBuild is             23   as EquityBuild because it's care of them.
24   the -- EquityBuild, Inc. is the borrower?              24       Q Well, did they lend the money or that's
                                                  Page 30                                                       Page 32
 1       A Yep, I do.                                        1   where the address where the notice should be
 2       Q And the lender -- or the persons listed           2   sent?
 3   on Exhibit A to the mortgage, care of EquityBuild       3       A I'm not sure if they lend the money.
 4   Finance, LLC, do you see that?                          4       Q Okay. So it's your testimony that you
 5       A I see that.                                       5   don't know one way or the other who the lender
 6       Q Okay. Then back here is a list of all             6   is?
 7   of the individual investors. Do you see that?           7       A No. I'm saying that the lender is the
 8       A I do.                                             8   entity or the individuals listed in Exhibit A, with
 9       Q Okay. Is that -- so would you consider            9   EquityBuild Finance care of. Or somehow they have
10   having read or seen this mortgage, would you           10   an involvement in it.
11   consider the lender to be EquityBuild Finance or       11       Q Do you know what that involvement is?
12   the individuals listed on Exhibit A to the             12       A No, I don't.
13   mortgage?                                              13       Q If you were to find this recorded
14       A Seeing this now?                                 14   mortgage, what steps would you take to determine
15       Q Yes.                                             15   who the lender is?
16       A Well, it would be all of them because it         16       A I would write out on my exam sheet or at
17   says lender.                                           17   least take a printout of the Exhibit A, and then I
18       Q Okay. Is EquityBuild Finance -- I will           18   would note that it's care of EquityBuild Finance.
19   represent to you that EquityBuild Finance is not a     19       Q Is EquityBuild Finance a lender?
20   name listed on Exhibit A to the mortgage.              20       A They are somehow related. I would list
21           Let me ask you, what's this front page         21   them as the lender. But I'm the examiner, so I
22   to the mortgage, what is that? What is its             22   wouldn't have -- I would not be the one to
23   significance?                                          23   determine that. So I would present it to someone
24       A What I would see of that, that's the             24   else to determine that.
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                                                    Page 33                                                       Page 35
 1        Q Okay. So you are saying you would list        1        is -- which is the proper entity to repay the first
 2   the people on Exhibit A and EquityBuild Finance,     2        mortgage?
 3   and you would flag it for someone else to            3            A I would think it would fall on them,
 4   determine?                                           4        yeah. I mean, I would -- how I see this is the
 5        A I wouldn't flag it. I would just put it       5        lender is Exhibit A and then you would list
 6   in my exam.                                          6        EquityBuild Finance, LLC.
 7        Q If you put it in your exam, who would         7            Q Would the lender be just EquityBuild
 8   make that determination who the lender is?           8        Finance without the Exhibit A, would that be proper
 9        A It could be the reader. Well,                 9        given this mortgage?
10   definitely the reader because that's how they would 10            A No. It would not be proper.
11   list it on a commitment.                            11                    (A document was marked as Morales
12        Q Because you would need to know that in 12                           Deposition Exhibit No. 7 for
13   order to make the commitment, correct?              13                     identification.)
14        A Correct.                                     14            By Ms. Qualls:
15        Q Okay. So it would be -- that would be        15            Q Okay. I will show you what I have
16   the reader's responsibility?                        16        marked as Exhibit 7. This is an email from Leslie
17        A Correct. I would think so.                   17        Clark to a number of people. You are copied on it.
18        Q What steps would you take if you were        18        And it's dated September 1, 2017.
19   the reader to make that determination?              19                Do you see that?
20        A To make the determination of who the         20            A I do.
21   lender is?                                          21            Q Okay. Who is Leslie Clark?
22        Q Yes.                                         22            A Leslie Clark is a title coordinator as
23        A I would put -- I would list Exhibit A,       23        well.
24   and I would also put EquityBuild Finance.           24            Q So she would have an equal position to
                                                    Page 34                                                       Page 36
 1        Q Right. And then if you were the reader             1   you at Lincoln Land?
 2   and you had to decide who the true lender was, what       2       A More of sort of administrative.
 3   steps would you take to figure that out?                  3       Q Okay. Do you see where she indicates in
 4        A I wouldn't. It's not my job to do that.            4   the first sentence, she says, Hi, Matt, and he is a
 5        Q Whose job would it be?                             5   person at Bloomfield Capital you will see above.
 6        A I would just list it and make sure that            6   It says, Hi, Matt, we have placed the above new
 7   the parties on Exhibit A and EquityBuild are shown        7   order as a rush request.
 8   on title for the role as care of.                         8           Do you see that?
 9        Q Okay. Well, then who -- is it your                 9       A Yes.
10   testimony that no one would have to make a               10       Q What is a rush request?
11   determination as to who the true lender is before        11       A A rush request is -- usually the
12   the title insurance policy could be issued?              12   standard for title is 7 to 10 business days to
13        A We would just show what's on record.              13   provide a report. A rush would be something before
14   What is on record is Exhibit A to the mortgage, in       14   that time period.
15   care of EquityBuild Finance, LLC. And that's how         15       Q Okay. So the standard is 7 to 10, and a
16   we would record it.                                      16   rush is something less than that; is that right?
17        Q Then would it be borrower's counsel or            17       A Correct.
18   lender's counsel that would review that?                 18       Q Is it typical to get a rush request or
19        A Lender's counsel who's coming in to               19   unusual?
20   title?                                                   20       A All the time.
21        Q Yes.                                              21       Q And it says the local has informed us
22        A Yes.                                              22   with prior policies for all parcels. And is the
23        Q So in your view it's lender's counsel             23   local in this instance Near North National Title?
24   that would have to make the determination of who         24       A Correct.
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                                                 Page 37                                                    Page 39
 1       Q Who selected Near North, was that            1                There is Drew Melchionni. Who is that?
 2   Lincoln Land's decision?                           2            A One of our principals here at
 3       A It would be Lincoln Land, correct.           3       Lincoln Land.
 4       Q Do you know in particular who at             4            Q I am sorry, I don't mean to speak over
 5   Lincoln Land selected Near North?                  5       you. He is a principal?
 6       A It would have been either me, my             6            A Correct.
 7   manager, or Leslie, we would discuss it who should 7            Q And Elizabeth Lemole, who is she?
 8   handle, who should we give this to.                8            A One of our counsel here.
 9       Q What's the name of your manager?             9            Q She is an attorney?
10       A Susan Donofrio.                             10            A She is one of our counsel, correct.
11       Q Could you spell Donofrio?                   11            Q Okay. What role would Lincoln Land's
12       A D-o-n-o-f-r-i-o.                            12       attorney have in this transaction?
13       Q Do you recall in this instance which of     13            MR. MALINA: I am just going to interject. To
14   you selected Near North?                          14       the extent that that calls for some kind of
15       A Not specifically.                           15       internal privileged communication, I will direct
16       Q Do you recall generally?                    16       the witness to not answer that question.
17       A Generally it might have been me and         17            MS. QUALLS: Fair enough. I am not seeking to
18   Leslie.                                           18       invade any privilege.
19       Q When you selected -- if you selected        19            By Ms. Qualls:
20   Near North, did you select who you wanted to work 20            Q Are attorneys typically copied on
21   with at Near North or you just select the entity  21       initial engagement emails?
22   and they decide who is going to be assigned to    22            A Yes.
23   it?                                               23            Q I think we touched in your prior
24       A I am sorry, can you repeat that             24       testimony of what a payoff letter is. Do you
                                                 Page 38                                                    Page 40
 1   question? I am not sure I followed.                    1   remember that?
 2       Q Sure. I just wanted to know, when                2       MR. MALINA: Can you repeat that?
 3   Lincoln Land decides to work with a local like Near    3       MS. QUALLS: Sorry.
 4   North, do you just pick the entity Near North or do    4       By Ms. Qualls:
 5   you actually identify a person at Near North who       5       Q We touched on a payoff letter in your
 6   you want to work with?                                 6   testimony. Do you recall that?
 7       A A little bit of both. If we have a good          7       A In my testimony we discussed a
 8   relationship with a certain person at Near North,      8   release.
 9   we would want to work with that office.                9       Q A release. All right.
10       Q Was Henry Marmol a person that you had          10           So let me ask you. What are payoff
11   worked with before?                                   11   letters?
12       A I am having a hard time hearing you.            12       A Payoff letters are what we receive from
13       Q Sorry. Was Henry Marmol -- I think we           13   the incumbering lender at time of closing in order
14   identified him as your counterpart at Near North --   14   for us to pay them off and then they would release
15   was that someone you had worked with before at        15   the mortgage holder of record.
16   Near North?                                           16       Q Who typically prepares a payoff
17       A I can't remember if I did work with him.        17   letter?
18   I think he was the one who was assigned to the file   18       MS. REPORTER: I can't hear the witness.
19   once we placed it with them.                          19       THE WITNESS: Can you hear me?
20           Our connection might have been with           20       By Ms. Qualls:
21   someone else. I'm not sure.                           21       Q Who typically prepares a payoff letter?
22       Q I am going to direct your attention to          22       A You are breaking up. I think we have
23   the next page of this. There is a few more people     23   having like internet --
24   I want to ask you about.                              24       Q Who typically prepares --
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                                                    Page 41                                                       Page 43
 1       A -- interference.                                    1   release deed; then another payoff. Then that's it.
 2       Q Can you hear me?                                    2           Okay. So going back up to the top.
 3       A Yes, I can hear you.                                3   Now, the email goes on to say, I have not reviewed
 4       Q Okay. Who typically prepares a payoff               4   but note until I am in receipt of title work, I
 5   letter?                                                   5   can't confirm if there may be additional releases
 6       A That would be the lender of title or                6   that may be required but we can sort through that
 7   their servicer.                                           7   once we have the commitment. Maribel, please also
 8       Q When you say "of title," that's the                 8   let us know from a title perspective if these draft
 9   existing lender, that's what you mean?                    9   releases are satisfactory. Thanks.
10       A Yes, the incumbering lender, yes,                  10           Do you see that?
11   existing.                                                11        A Yes.
12       Q Does the title officer have any role in            12        Q What was your answer to that question to
13   checking the amount of the -- whether the amount to      13   Ms. Bagchi?
14   be paid off is correct?                                  14        A Usually I would say will do, I would
15       A Would a title officer confirm the                  15   think.
16   amount -- I am sorry, can you repeat the question?       16        Q Then what would you have done behind the
17       Q Does the title officer have any role in            17   scenes on your end to determine whether from a
18   confirming whether --                                    18   title perspective if the drafts are satisfactory?
19       A I am having a hard time.                           19        A I would have forward the releases and
20       Q Does the title officer have any role in            20   payoff to Near North.
21   confirming whether the amounts to be paid off are        21        Q Okay. Do you recall who you would have
22   correct.                                                 22   forwarded that to?
23       MR. STEIN: Due to technical difficulties, why        23        MR. MALINA: Can you repeat that?
24   don't we go off the record.                              24        By Ms. Qualls:
                                                    Page 42                                                       Page 44
 1              (A recess was had.)                            1       Q Who you would have forwarded it to at
 2               (A document was marked as Morales             2   Near North?
 3                Deposition Exhibit No. 8 for                 3       A I would have probably forwarded it to
 4                identification.)                             4   Kristen and Henry.
 5       By Ms. Qualls:                                        5       Q Okay. And then do you recall what
 6       Q I am going to show you what I marked as             6   answer they provided to you?
 7   Exhibit 8. Can you see this document?                     7       A I don't recall.
 8       A Yes.                                                8       Q And would the typical scenario be they
 9       Q It's an email dated September 11, 2017,             9   would give you the answer and then you would relay
10   from Kasturi Bagchi at Honigman to a couple of           10   it back to the client?
11   people, including you.                                   11       A That would be a typical, correct.
12          Do you see that?                                  12       Q Okay. Did you, when you received this
13       A Yes.                                               13   email, did you review the payoffs and the release
14       Q Okay. Do you know who Kasturi Bagchi               14   deeds?
15   is?                                                      15       A I just probably glanced to it to make
16       A I believe she is counsel for                       16   sure that what they said they were are attached.
17   Bloomfield.                                              17       Q Let's look at one of the release deeds.
18       Q Bloomfield is the lender, right?                   18   This is page, I think it's 8 of the pdf. 3 of the
19       A The incoming lender, correct.                      19   pdf. It's page 8 of the document. It's page 3 of
20       Q Okay. And the email reads, Matt and                20   the pdf of this release deed for the Cheltenham
21   Dennis and Maribel, please see attached from             21   Place property.
22   borrower's counsel.                                      22           Do you see that?
23          If you go forward, you will see there             23       A Yes.
24   are some payoffs, and then some documents entitled       24       Q This is a draft, right? It's not
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                                                   Page 45                                                     Page 47
 1   signed?                                                  1   of inquiries would you make?
 2       A Correct.                                           2       A I probably would go back to EquityBuild
 3       Q Okay. The release deed, the first name             3   Finance.
 4   in bold caps is EquityBuild Finance. Do you see          4       Q Okay. Would you also raise a question
 5   that?                                                    5   to the lender's counsel, the new lender's
 6       A Correct.                                           6   counsel?
 7       Q And it is saying, EquityBuild Finance is           7       A I'm not sure if I would. I might just
 8   releasing EquityBuild, Inc.; is that right?              8   because they are the one who sent it to me.
 9       A Correct.                                           9       Q And borrowers, going back to the email,
10       Q Okay. And that is -- it's doing that in           10   you see that it's from, it's from Kasturi Bagchi.
11   regard to the incumbent mortgage on the Cheltenham      11   She is lender's counsel, correct?
12   Place property; is that right?                          12       A Correct.
13       A I see that, uh-huh. That's correct.               13       Q And she is sending this, saying, please
14       Q Now, we looked at the deeds -- I am               14   see attached from borrower's counsel.
15   sorry, the mortgage, the recorded mortgages before.     15           So that would have been counsel for
16   And do you recall that EquityBuild, Inc. was the        16   EquityBuild, Inc., right?
17   borrower, right?                                        17       A Correct.
18       A Yes.                                              18       Q So you are saying you might have gone --
19       Q And EquityBuild Finance, LLC, was that            19   raised it with Ms. Bagchi as lender's counsel, but
20   name -- was the people who were listed on Exhibit A     20   you also might have raised it with borrower's
21   were in care of, do you recall that?                    21   counsel as well?
22       A Yes.                                              22       A Well, in this case, I would have just
23       Q Okay. And I think, is it correct that             23   sent it to -- since I was not listed with
24   you testified earlier, I believe you said that the      24   borrower's counsel, I would have probably just sent
                                                   Page 46                                                     Page 48
 1   proper entity to release an incumbent mortgage is 1          it to Bloomfield, if I was the one handling the
 2   the lender; is that right?                          2        review of it.
 3      A Correct.                                       3             Q You would have sent it to Bloomfield
 4      Q Okay. So when -- what should have been 4                directly or Ms. Bagchi, their counsel?
 5   done when someone at Near North received these 5                  A Ms. Bagchi, counsel.
 6   draft releases to determine whether EquityBuild     6             Q I am sorry, I missed that.
 7   Finance had the authority to release the incumbent 7              A Counsel. I would have just, I would
 8   mortgage?                                           8        have just responded to that email.
 9      A I'm not sure, other than looking at both       9                    (A document was marked as Morales
10   documents and seeing the mortgage, I'm not sure 10                        Deposition Exhibit No. 9 for
11   what else would they have done to confirm.         11                     identification.)
12      Q Okay. Well, you see here that there is        12             By Ms. Qualls:
13   not a signature for any of those people on         13             Q Okay. Back to the documents. I am
14   Exhibit A to the incumbent mortgage, right?        14        going to pull up what I have marked as Exhibit 9.
15      A Correct.                                      15                 Do you see this email? This is also
16      Q Okay. If as a reader knowing that the         16        dated September 11, 2017, from you to Henry Marmol.
17   incumbent mortgage had individual lenders, in your 17        We identified him previously from Near North.
18   view should someone have made inquiries to         18                 Can you see this?
19   determine whether EquityBuild Finance had the      19             A Yes.
20   authority to release the mortgage?                 20             Q In this instance, you say, Hi, Henry, we
21      A Maybe.                                        21        received the attached documents from borrower's
22      Q Is that what you would have done?             22        counsel and kindly note lender's comments regarding
23      A I might. I'm not sure.                        23        same. And then you have in italicized the text
24      Q Okay. How would one do that? What kind 24               that Ms. Bagchi had sent you in the prior email
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                                                  Page 49                                                       Page 51
 1   that we looked at, Exhibit 8.                           1   from Leslie Clark from Lincoln Land dated
 2           Do you see that?                                2   September 13, and you are cc'd on it. And it says,
 3       A Yes.                                              3   Good morning, attached is the hyperlinked
 4       Q Then you say, please let us know if you           4   commitment for the above matter.
 5   have any comments.                                      5           Now, the commitment, that's the document
 6           Do you see that?                                6   that Near North creates, right?
 7       A Yes.                                              7      A Correct.
 8       Q How did Mr. Marmol respond to your                8      Q And they issue that commitment once they
 9   inquiry?                                                9   believe that they can issue the lender's title
10       A I can't remember exactly verbatim.               10   insurance policy?
11       Q Right. Did he raise any issues with              11      A Correct.
12   regard to the payoff letters or the releases?          12      MR. HART: Objection; calls for speculation.
13       A I can't remember.                                13   You are asking her what was going on in the mind of
14       Q Now, I think you mentioned before that           14   Near North when it issued a title commitment?
15   he was the coordinator, right, he was sort of your     15      By Ms. Qualls:
16   counterpart at Near North, right?                      16      Q Does an entity -- what does it mean to
17       A He's the title officer.                          17   issue a title commitment?
18       Q Okay. So if he had -- as a title                 18      A A title commitment is the intent of
19   officer, if he were to receive draft releases and      19   issuing a policy, with the exceptions raised
20   payoff letters, would he evaluate them himself or      20   therein.
21   would he refer it to the examiner or the reader?       21           And there is a section for it where if
22       A I'm not sure. I would think he would             22   you comply with these requirements, then what's on
23   himself, but I can't really say to how they handle     23   Schedule B-2 are what we would provide you with a
24   it over there at Near North.                           24   policy reflecting those exceptions.
                                                  Page 50                                                       Page 52
 1       Q But it's your testimony that it's                 1        Q And the fact that the title company is
 2   Near North, it's someone at Near North's job to         2   providing a commitment means that they have an
 3   determine whether the releases are satisfactory to      3   intention to issue the policy if those
 4   release the incumbent mortgage, correct?                4   prerequisites are met?
 5       A Correct.                                          5        A Correct.
 6       Q Okay. So not the job of Lincoln Land,             6        Q And for a lender's policy, that would
 7   but someone at the job of Near North, right?            7   mean that it's the title company's belief that the
 8       A Right.                                            8   lender have a first lien position, assuming that's
 9       Q Because they are the ones who are                 9   what they wanted?
10   issuing the title insurance policy?                    10           If the title company was going to be
11       A Correct.                                         11   issuing the policy to a lender, and the lender
12               (A document was marked as Morales          12   wanted a first lien position, the fact that the
13                Deposition Exhibit No. 10 for             13   title company is making the commitment means it
14                identification.)                          14   believes that the lender has a first lien position;
15       By Ms. Qualls:                                     15   is that right?
16       Q This is Exhibit 10. This is a                    16        A Once the requirements are met with, yes.
17   September 15 email from Carly Berard to Kasturi        17        Q Why is Leslie Clark sending this if
18   Bagchi.                                                18   Near North is making the commitment?
19           I recognize that you are not on this           19        A Because we are the coordinator and she
20   part of the chain. Do you know who Carly Berard        20   is part of the coordinating team.
21   is?                                                    21        Q I am going to scroll up one page to
22       A No.                                              22   page 2 to look at another email. This is page 2 of
23       Q I am just going to direct your attention         23   the pdf. It's dated September 15, 2017 from
24   down to page 3 of the pdf. And this is an email        24   Kasturi Bagchi.
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                                                Page 53                                                   Page 55
 1           And she, as you can see down in the          1   title insurance.
 2   second paragraph, she is introducing you to -- not   2            Do you see that?
 3   you, but whoever she is -- to Leslie and Maribel of 3         A Yes, I see that.
 4   Lincoln Land Services.                               4        Q Is it your -- do you know whose
 5           Do you see that?                             5   handwriting this is?
 6       A Yes.                                           6        A No.
 7       Q In paragraph 1 there it says,                  7        Q Is this -- would you assume this is the
 8   Lincoln Land, are you acting as just the funds       8   markup of Ms. Bagchi?
 9   disbursement agent as I see that the commitment is 9          A It could be or her paralegal.
10   issued by Near North.                               10        Q Did you notice in this there was --
11           Was Lincoln Land acting as the funds        11   scrolling down. This is to page 2 of the email
12   disbursement agent?                                 12   chain, in an email from Ms. Bagchi she directs
13       A We were not.                                  13   Loana and Tyler from EquityBuild, it says, all
14       Q Okay. So Lincoln Land wasn't doing the        14   releases must be signed by EquityBuild Finance,
15   escrow or the title commitment?                     15   LLC, and not Jerome Cohen individually.
16       A That's correct.                               16            Do you see that?
17       Q Okay. And what is it, when it says, I         17        A I see that now.
18   will need a CPLS from both. What is that?           18        Q Do you recall that being an issue in
19       A A closing protection letter.                  19   this transaction, who was signing the releases?
20       Q What does that mean?                          20        A I don't recall, no.
21       A Closing protection letter is usually          21               (A document was marked as Morales
22   what is given to a lender when they want            22                Deposition Exhibit No. 12 for
23   underwriting or the underwriter or the insurer in   23                identification.)
24   this case, being one of the paper we are writing    24        By Ms. Qualls:
                                                Page 54                                                   Page 56
 1   on, like Chicago Title, Fidelity, to give us        1        Q Let's look at Exhibit 12. This is an
 2   insurance, and they would back us up that any       2    email from Ms. Bagchi to you and others dated
 3   errors or omissions in funding the transactions,    3    September 25, 2017.
 4   the lender would be covered.                        4             Do you see it's also addressed to
 5        Q So did Lincoln Land issue a closing          5    Kristen at Near North, right?
 6   protection letter on this transaction?              6        A Uh-huh. I see that.
 7        A We did not.                                  7        Q I think you mentioned she would be
 8        Q That's because Near North did both the       8    involved in the escrow?
 9   escrow function and the title commitment?           9        A Settlement, uh-huh.
10        A Correct.                                    10        Q Then it says, are these satisfactory to
11               (A document was marked as Morales      11    you. And attached to the email are a number of
12                Deposition Exhibit No. 11 for         12    payoffs for the five properties.
13                identification.)                      13             Did you understand that Ms. Bagchi when
14        By Ms. Qualls:                                14    you received this email was asking you if the
15        Q Next document is marked as Exhibit 11.      15    payoffs were satisfactory?
16   This is an email that I have marked as Exhibit 11. 16        A If she was asking me?
17   It's from Kasturi Bagchi dated September 18, 2017, 17        Q Yes.
18   to you and Loana Salajanu.                         18        A She was just probably keeping me
19           Can you see this document?                 19    addressed because I am the coordinator. But the
20        A I see the email, yes.                       20    person who would have responded would have been
21        Q And it says, Maribel and Loana, here are 21       Kristen.
22   comments based on the new commitment. Thanks. 22             Q Okay. It would be for the escrow, the
23           And attached is, you can see these, a      23    first lien on the escrow to weigh in on whether
24   markup of Near North National's commitment for     24    payoff letters were satisfactory?
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                                                   Page 57                                                     Page 59
 1        A Correct.                                          1   responded to this inquiry?
 2        Q Do you recall what Kristen's answer               2       A I don't recall.
 3   was?                                                     3       Q Do you recall whether Ms. Cristia
 4        A I do not.                                         4   responded?
 5        Q Do you know what an escrow agent like             5       A I don't recall.
 6   Ms. Cristia would have done to determine whether         6       Q Let's look at the actual release deed
 7   payoff letters are satisfactory?                         7   that's attached here. This is a Cheltenham Place
 8        A Numerous things. I'm not sure what,               8   one.
 9   how, or which way she would have gone. I mean, she       9            Do you see that this deed, release deed
10   would have looked to see the lender, compare it         10   is -- just for the record, I am at page 6 of the
11   to -- I don't know if she would have done that.         11   pdf. It lists EquityBuild, Inc. as the entity
12   She might have looked at the mortgage and compare       12   doing the releasing in the favor of EquityBuild
13   it to the payoff if it shows the right lender. She      13   Finance, LLC.
14   might have looked to see if there was a loan number     14            Is that right?
15   on the payoff versus what's on record. And              15       A I see that.
16   Ultimately she would have confirmed if they had         16       Q And EquityBuild, Inc. is the borrower,
17   wire instructions and a contact person to verify        17   right?
18   those wire instructions.                                18       A Correct.
19                (A document was marked as Morales          19       Q And EquityBuild Finance is the entity
20                 Deposition Exhibit No. 13 for             20   that was directed to have all the correspondence in
21                 identification.)                          21   care of for the folks listed on Exhibit A to the
22        By Ms. Qualls:                                     22   incumbent mortgage, right?
23        Q I will look at Exhibit 13. This is an            23       A Correct.
24   email from Kasturi Bagchi to you and Kristen            24       Q So can a borrower of an incumbent
                                                   Page 58                                                     Page 60
 1   Cristia, dated September 25, 2017.                       1   mortgage release something in favor of a lender?
 2            Can you see this document?                      2       MR. HART: I object to the extent it calls for
 3       A I do.                                              3   a legal conclusion.
 4       Q She asks, are these in form satisfactory           4       MR. GALE: Join.
 5   to you? Thanks. And what she is referring to, if         5       By Ms. Qualls:
 6   you scroll through the attachment, is release            6       Q You can answer.
 7   deeds. There are signed ones, not yet filed or           7       A I can answer?
 8   recorded, but executed release deeds attached.           8       Q Yes.
 9            Do you recall getting this email?               9       A What was the question again?
10       A Not specifically, but it came -- it's             10       Q The question was does a borrower have
11   there.                                                  11   anything to release to a lender in an incumbent
12       Q Right. Would you have understood                  12   mortgage?
13   Ms. Bagchi asking you whether the release deeds are     13       MR. GALE: Same objection
14   satisfactory?                                           14       THE WITNESS: A borrower, do they have the
15       A Asking me and Kristen. Me as the                  15   right? I am not sure --
16   coordinator, correct.                                   16       By Ms. Qualls:
17       Q And Kristen or Ms. Cristia, she was on            17       Q I think you testified before that
18   the escrow side, right?                                 18   typically it's a lender, the lender of an incumbent
19       A Correct.                                          19   mortgage that does the releasing, right?
20       Q Would someone on the escrow side have             20       A Correct. That's correct.
21   looked at the release deeds?                            21       Q That's because they have a lien on the
22       A She or she would have had someone in her          22   collateral, right?
23   outfit look at them.                                    23       A Yes.
24       Q Okay. And do you recall how you                   24       Q They are releasing the lien when the
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                                                Page 61                                                    Page 63
 1   loan is paid off?                                     1   attaching the borrower's statement.
 2       A That's correct.                                 2             And I think we had talked about this a
 3       Q Okay. So the borrower doesn't have a            3   little bit before, but do you see all the times
 4   lien on the property, right?                          4   NNNT, LLC is listed here, in that second column?
 5       A No.                                             5        A Uh-huh. I do. I see.
 6       Q The borrower owns the property?                 6        Q And that's Near North National Title,
 7       A Correct.                                        7   right?
 8       Q Typically. Is it typical to have a              8        A Correct.
 9   borrower releasing interests to a lender in a         9        Q And the amounts here that are listed to
10   release deed?                                        10   the right are all the various fees that Near North
11       A Not usually.                                   11   Title would have charged for issuing this title
12       Q I am sorry, you said not usually?              12   insurance policy and doing the escrow, right?
13       A No, they would not.                            13        A That's correct.
14       Q Did you notice at the time that it was         14        Q And I think you mentioned that to the
15   EquityBuild, Inc., the borrower was doing the        15   extent Lincoln Land got a cut of those fees, that
16   releasing in this document?                          16   was decided on the back end; is that right?
17       A I can't recall that.                           17        A Correct.
18       Q Okay. And would it be --                       18        Q It says down here that the loan policy
19           I think you mentioned that it would have     19   that was coverage for $5,328,433.40. Do you see
20   been Near North's job to determine whether the       20   that?
21   releases were adequate to ensure that Bloomfield     21        A I do.
22   Capital had a first lien position?                   22        Q That the premium was $7,972.50?
23       A That's correct.                                23        A I see that.
24       Q If EquityBuild was the borrower on the         24        Q That's the premium for the title
                                                Page 62                                                    Page 64
 1   underlying -- on the incumbent mortgage, did it       1   insurance policy that was issued to the lender?
 2   have the ability to release the mortgage?             2       A Correct.
 3      MR. HART: Calls for a legal conclusion             3       Q And if there was a -- if there is a
 4      By Ms. Qualls:                                     4   valid claim under that policy, it will pay
 5      Q You can answer.                                  5   5 million and change; is that right?
 6      A If EquityBuild, Inc., as borrower had            6       A That's right. Depending on the claim
 7   the authority?                                        7   though.
 8      Q I said if EquityBuild, Inc., was the             8       Q Is typically the amount of coverage the
 9   borrower, did it have the ability to release the      9   entire amount that the lender put out or lent?
10   mortgage?                                            10       A Correct. They have up to that. But if
11      MR. HART: Same objection                          11   the claim is for something less or for something
12      By Ms. Qualls:                                    12   else, it determines once they go into, I guess,
13      Q You can answer.                                 13   court.
14      A No.                                             14       Q As an examiner or a reviewer, would --
15      Q Let's --                                        15            MR. HART: You are dropping out. I
16      A But I do see that it was signed by              16   cannot hear you.
17   EquityBuild Finance.                                 17       By Ms. Qualls:
18              (A document was marked as Morales         18       Q As an examiner and a reader, one of the
19               Deposition Exhibit No. 14 for            19   things we talked about is they would look to the
20               identification.)                         20   recorded incumbent mortgage; is that right?
21      By Ms. Qualls:                                    21       A Correct.
22      Q This is Exhibit 14, which is an email           22       Q Would they look at any other documents
23   from Tyler DeRoo from EquityBuild and it's dated     23   related to the incumbent mortgage?
24   September 27, 2017. You are cc'd on it. And it is    24       A I am not sure exactly what you mean.
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                                                  Page 65                                                    Page 67
 1       Q Would they, for example, look at an               1   commitment?
 2   investment loan package from the prior lenders?         2        A No. Not to my knowledge. I wouldn't.
 3       MR. HART: Would who                                 3        Q On the first page you will see that
 4       By Ms. Qualls:                                      4   EquityBuild Finance here is listed in its capacity
 5       Q Would a title examiner or a title reader          5   as collateral agent for the lenders and capacity as
 6   look at an investment loan package from the prior       6   loan officer for the lenders, and they are calling
 7   lenders?                                                7   it the collateral agent and servicer.
 8       A If it's on record. We only look at                8           Do you see that?
 9   things that are on record. We only insure what's        9        A I do.
10   on record.                                             10        Q Then if you go down to another page.
11       Q Okay. So if it's not on record, it's             11        MR. MALINA: You are dropping out again.
12   not recorded, it's not something you looked at; is     12        MS. QUALLS: Sorry. Okay.
13   that right?                                            13        By Ms. Qualls:
14       A Correct.                                         14        Q Scrolling down to page 3, it's pdf 5,
15       Q Okay.                                            15   paragraph 3. Do you see the all caps section which
16       A Or the examiner would not or a reader            16   says, this is in paragraph 3, in the absence of
17   would not.                                             17   written instructions from the required lenders,
18       Q Why is that, why would you not look at           18   neither the collateral agent nor the servicer shall
19   anything beyond what's recorded?                       19   foreclose upon any lien with respect to any of the
20       A Because we only insure what's on                 20   collateral or take any other action with respect to
21   record.                                                21   the collateral or any part thereof.
22       Q Okay. So if there is another document            22           Do you see that?
23   that had other terms, that's not something you         23        A I do.
24   would have considered; is that right?                  24        Q Okay. Did you in connection with your
                                                  Page 66                                                    Page 68
 1      A That's correct. For a commitment.                  1   work on this transaction, did you ever see any
 2      Q Something that's not -- a document                 2   written instructions from the lenders listed on
 3   that's not recorded can't be the basis for a title      3   Exhibit A to the incumbent mortgages authorizing
 4   insurance company to make a commitment?                 4   the release of their mortgages?
 5      A Correct. Unless we have some sort of               5      A I don't recall. I don't believe I
 6   knowledge by one of the parties, like leases.           6   did.
 7               (A document was marked as Morales           7      Q Did anyone from EquityBuild Finance ever
 8                Deposition Exhibit No. 17 for              8   represent to you in connection with your work on
 9                identification.)                           9   the refinancing that it had obtained authorization
10      By Ms. Qualls:                                      10   in writing from the individual lenders listed on
11      Q Okay. I am going to show you what I               11   the exhibits to the recorded mortgages?
12   have marked as Exhibit 17. If you can see this         12      A Not that I am aware of, no.
13   document, this is called a collateral agency and       13      MS. QUALLS: I think I am done for now with
14   servicing agreement among EquityBuild Finance, LLC,    14   questions. I will reserve to ask anymore, but for
15   as collateral agent and loan servicer and each of      15   now I will pass the witness.
16   the lenders party hereto dated as of 5/31/2018.        16      MS. WINE: I have some questions.
17           Do you see this?                               17                 EXAMINATION
18      A I do.                                             18      By Ms. Wine:
19      Q Do you recall ever seeing this in                 19      Q Ms. Morales, my name is Jodi Wine and I
20   connection, this document in connection with your      20   represent the receiver in this lawsuit, in this
21   work on the refinancing of the five properties?        21   receivership.
22      A I do not recall.                                  22      A Hi.
23      Q Do you typically look at servicing                23      Q Hi. So I want to turn your attention
24   agreements when deciding whether to make a title       24   back to Exhibit 8. If you will bear with me, I
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                                                   Page 69                                                    Page 71
 1   will put it up on the screen.                            1           But if you are able to answer it, ma'am,
 2            Ms. Morales, are you able to see what's         2   it's your call.
 3   been marked as Exhibit 8?                                3        By Ms. Wine:
 4       A Yes.                                               4        Q I am asking in your professional
 5       Q Do you recall looking at this document             5   opinion.
 6   earlier?                                                 6        A If the lender, this lender, is the same
 7       A I do.                                              7   lender as the mortgage.
 8       Q I want to go to one of the payoff                  8           Can you go back to the mortgage?
 9   letters that we looked at earlier, which is page 2       9           And your question?
10   of this exhibit.                                        10        Q My question just as a foundation is
11            Who does this payoff letter indicate it        11   whether the payoff, you understand from looking at
12   is from?                                                12   the recorded mortgage and the payoff letter, that
13       A Who drafted it or who -- EquityBuild              13   the payoff is purporting to be on behalf of the
14   Finance, LLC.                                           14   investors listed on Exhibit A to the mortgage?
15       Q Do you see indicated on this payoff               15        A Yes.
16   letter it's from 3074 East Cheltenham Investors         16        Q Then if we look at the release -- strike
17   care of EquityBuild Finance, LLC?                       17   that.
18       A Oh, I see that. Okay. Yeah.                       18           I am going to turn your attention back
19       Q Is that consistent with the mortgage              19   to Exhibit 2. Did you see a document ID number on
20   that we looked at earlier? I will pull that up for      20   the mortgage recorded that's attached as
21   you. Exhibit 2.                                         21   Exhibit 2?
22            Ms. Morales, did the exhibit on the            22        A The doc number?
23   screen change to Exhibit 2?                             23        Q Yes.
24       A Yes, it did.                                      24        A Under the SKU?
                                                   Page 70                                                    Page 72
 1       Q Okay. Do you recall looking at this                1        Q Yes. What is that document number?
 2   mortgage which indicated that the mortgage was           2        A 1625250140.
 3   given to the persons listed on Exhibit A to the          3        Q What is the significance of that number?
 4   mortgage?                                                4   What does that number represent?
 5       MR. MALINA: Are you asking her if she recalls        5        A If it's coming from the recorder's, it
 6   back then looking at it or just now?                     6   could be their recording number that you would get
 7       MS. WINE: Just now. In this deposition.              7   once you present it. But it could be a temporary
 8       MR. MALINA: Okay.                                    8   number and then they might put a book and page
 9       THE WITNESS: Yeah, I recall.                         9   later. It just depends on the county how they
10       By Ms. Wine:                                        10   would do it.
11       Q You testified earlier that one of the             11           But sometimes in New York you put like a
12   roles of a title agent is to confirm that the           12   reference doc number and then you put a book and
13   lender on a release is the same -- strike that.         13   page.
14          That one of the obligations of a title           14        Q You testified earlier that one of the
15   agent is to confirm that the lender on a payoff is      15   things that a title agent does is to make sure that
16   the same as the lender on the mortgage of record?       16   the loan number on the payoff is the same as the
17       A Correct.                                          17   loan number on the recorded mortgage, correct?
18       Q Going back to Exhibit 8, this payoff is           18        A Loan number, no. We would look to see
19   represented to be from the 3074 East Cheltenham         19   if there is a loan number sometimes, but not --
20   Investors. Do you understand that to be the             20   sometimes the loan number is not on a recorded
21   persons listed on Exhibit A of the mortgage?            21   mortgage.
22       MR. GALE: I will object, the documents speak        22        Q So in that instance, what would you do
23   for themselves. I think you are asking her for a        23   to make sure that the payoff was the same -- of the
24   legal conclusion.                                       24   same instrument as recorded in title?
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                                                   Page 73                                                   Page 75
 1      A We would probably check the lender's                1   commitment lists the payoff letter -- excuse me.
 2   name as you pointed out. We would look to see if         2   Strike that.
 3   there is -- if they reference a loan number. We          3           Do you see that this title commitment
 4   would try to find whatever best way suited that we       4   lists the mortgage as an instrument made by
 5   could make a connection. It could be dollar amount       5   EquityBuild, Inc. to EquityBuild Finance, LLC?
 6   or something like that.                                  6       A Yes, I do see that.
 7      Q Let me take your attention to Exhibit 11            7       Q Based on your review of the mortgage,
 8   marked earlier. Can you see Exhibit 11 on the            8   was that, the mortgage you looked at, made by
 9   screen?                                                  9   EquityBuild, Inc. to EquityBuild Finance?
10      A Is it part of a marked up?                         10       A Are we talking about the same mortgage
11      Q Right. The first page of Exhibit 11 is             11   you showed me earlier?
12   the email from Ms. Bagchi to you sending comments       12       Q Yes. I'm talking about -- I will show
13   based on the new title commitment?                      13   it again, Exhibit 2.
14      A Correct.                                           14           Was that mortgage made by EquityBuild,
15      Q And then if you go down to page 6 of the           15   Inc. to EquityBuild Finance?
16   document, there is a list of requirements. Do you       16       A From seeing it now, no, they didn't put
17   see that?                                               17   Exhibit A, the persons listed on Exhibit A.
18      A I do.                                              18       Q Looking back at Exhibit 11, paragraph 7,
19      Q And the requirement No. 6 states,                  19   lists a mortgage affecting parcel 2 of the five
20   company approved payoff letter for mortgage dated       20   properties, correct?
21   July 22, 2015, and recorded November 17, 2015, as       21       A I believe so.
22   document No., and then it gives a number.               22       Q Is it the same language that the
23           Do you see that?                                23   mortgage is made from EquityBuild, Inc. to
24      A Yep.                                               24   EquityBuild Finance?
                                                   Page 74                                                   Page 76
 1        Q What is that document number?                     1       A Yep.
 2        A 1532145039.                                       2       Q Is that also true of requirement 8,
 3        Q What does that document number                    3   affecting the third parcel?
 4   represent?                                               4       A I see that, uh-huh.
 5        A In this, how it's presented here to me,           5       Q And requirement 9, affecting the fourth
 6   it's the document number that the county recorder        6   parcel?
 7   affixed on the recorded mortgage.                        7       A I see that, uh-huh.
 8        Q Do you see that the payoff letter in              8       Q In that case, the mortgage is described
 9   No. 6 affected one of the five parcels?                  9   as a mortgage made by EquityBuild, Inc., to Equity
10        A The payoff letter?                               10   Trust Company. Do you see that?
11        Q The requirement that the payoff letter           11       A I do.
12   be provided for a mortgage on one of the five           12       Q Just to tie it up. Requirement 12
13   parcels.                                                13   affects the fifth property and describes another
14        A Correct.                                         14   mortgage made by EquityBuild, Inc., to EquityBuild
15        Q Do you see it says, company approved             15   Finance?
16   payoff letter is required?                              16       A Yes.
17        A Yes, I see that.                                 17               (A document was marked as Morales
18        Q What is your understanding of what               18                Deposition Exhibit No. 6 for
19   company approved means?                                 19                identification.)
20        A That someone from the company at                 20       By Ms. Wine:
21   Near North would have reviewed the payoff letter        21       Q I am going to show you now an exhibit
22   and determined if they had any question, comments,      22   that was marked by Ms. Qualls, but she didn't yet
23   or concerns in their review.                            23   show it to you at this deposition. That's
24        Q Okay. And do you see that this title             24   Exhibit 6?
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                                                    Page 77                                                   Page 79
 1        MR. HART: 6                                          1      A I have.
 2        MS. WINE: 6, yes.                                    2      Q And you have worked as a reader in the
 3        By Ms. Wine:                                         3   past, correct?
 4        Q Ms. Qualls, are you able to see                    4      A I have.
 5   Exhibit 6 on the screen?                                  5      Q And you are a title agent, correct?
 6        A Ms. Qualls?                                        6      A I work for a title agent.
 7        Q I am sorry, Ms. Morales.                           7      Q Okay. In any of those prior roles, did
 8        A Yes.                                               8   you describe mortgages in the title commitment?
 9        Q Thank you. And this is another recorded            9      A I have.
10   mortgage. Do you see that?                               10      Q Okay. In your professional opinion,
11        A Yes.                                              11   does the description of the mortgage in
12        Q Let me know if you want me to flip                12   requirement 9 as made by EquityBuild, Inc., to
13   through the whole document. I will just do it            13   Equity Trust Company accurately describe the
14   quickly so you see the content.                          14   mortgage we just looked at?
15           To whom -- who is identified as the              15      MR. GALE: Same objections, asking for an
16   lender on this mortgage?                                 16   opinion from a lay witness and asking for legal
17        A Lender is defined in this mortgage by             17   conclusion.
18   the persons listed on Exhibit A to the mortgage,         18      By Ms. Wine:
19   care of Hard Money Company, LLC.                         19      Q Are you able to answer the question?
20        Q This mortgage also has an Exhibit A               20      A Is that the same mortgage that you just
21   listing a number of individuals?                         21   showed me?
22        A Yes.                                              22      Q I am asking whether it accurately
23        Q Okay. The lender is not identified as             23   describes this mortgage that I showed you, that has
24   EquityBuild Finance in any way on this mortgage,         24   been marked as Exhibit 6?
                                                    Page 78                                                   Page 80
 1   correct?                                                  1       A Can you go back up to the doc number?
 2       A Correct.                                            2       Q I am sorry, I am not sure what you are
 3       Q And the lender is -- let's go back to               3   asking.
 4   Exhibit A.                                                4       A The document number. There is two
 5           Do you see the Equity Trust Company is            5   document numbers.
 6   listed?                                                   6       Q I will represent to you that the
 7       A Who? I am sorry.                                    7   document shows that this instrument is being
 8       Q Equity Trust Company.                               8   re-recorded to correct Exhibit A.
 9       A Yes, I see that.                                    9       A Yes. Can you go back? Go back to the
10       Q Several of the lenders on Exhibit A are            10   release.
11   listed as Equity Trust Company as custodian for          11       Q Certainly.
12   individuals, correct?                                    12       A If that number 1501656187 corresponds to
13       A I see that, uh-huh.                                13   that mortgage, then I would say.
14       Q Okay. In your professional opinion does            14       Q All I am asking you is whether this
15   requirement 9 on Exhibit 11 describing the mortgage      15   requirement accurately describes that mortgage we
16   as an instrument made by EquityBuild, Inc., to           16   just looked at?
17   Equity Trust Company accurately describe the             17       A If it's describing the document number,
18   mortgage that we just looked at?                         18   yeah, I would say yes. Document number and the
19       MR. GALE: I will object that you are asking          19   parties.
20   for an opinion from a lay witness and also that you      20       Q So you would say that a mortgage made by
21   are asking for a legal conclusion.                       21   EquityBuild, Inc. to Equity Trust Company
22       By Ms. Wine:                                         22   accurately describes the mortgage we just looked
23       Q Ms. Morales, you worked as an examiner             23   at?
24   in the past, correct?                                    24       A It has EquityBuild Finance as their
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                                                    Page 81                                                    Page 83
 1   servicer. I would think. I would say yes.                 1      A Yes.
 2       Q I am directing your attention back to               2      Q What role would an attorney like
 3   Exhibit 6.                                                3   Ms. Lemole play for Lincoln Land Services in a
 4       A The servicer?                                       4   transaction like the loan that was ultimately made
 5       Q Where do you see that?                              5   here?
 6       A No. I was thinking of the other one.                6      A She would be my backup.
 7   Never mind.                                               7      Q Backup with regard to what?
 8       Q I am sorry, it's really hard at this                8      A In case I'm out of the office, in case
 9   deposition with everything being on the screen and        9   they have any questions that I can't answer, she
10   not being able to look at two documents at the same      10   would be there.
11   time, and I apologize for that.                          11      Q Okay. Would she stay involved
12       A It doesn't appear to be the same lender            12   throughout the transaction?
13   because it's Hard Money Company, LLC, is the             13      A Sometimes.
14   mortgage lender. The other one I believe you said        14      MR. MALINA: Hold on a second.
15   it noted EquityBuild Finance.                            15          This transaction, any transaction?
16       Q So on a title commitment how would you             16      By Mr. Stein:
17   describe the instrument that's been marked as            17      Q Would it be common for an attorney like
18   Exhibit 6?                                               18   Ms. Lemole to stay involved throughout a
19       A Me, if I was examining it?                         19   transaction?
20       Q Correct.                                           20      A Yes.
21       A I would -- the persons listed on                   21      Q Did Ms. Lemole stay involved in this
22   Exhibit A to the mortgage care of Hard Money             22   transaction?
23   Company, LLC.                                            23      A I believe she was in and out of
24       Q And would you require that any release             24   emails.
                                                    Page 82                                                    Page 84
 1   be issued by the persons listed on Exhibit A to the 1             Q Do you know why that was?
 2   mortgage?                                            2            A Sometimes people get lazy, they just ...
 3       A I would probably go with Hard Company          3            Q They just forget to include somebody, is
 4   because I see them as they might be the servicer. 4           that what you were saying?
 5   Usually when I see something like that, it's the     5            A Correct.
 6   servicer or the agent for the lender.                6            Q Thank you.
 7       MS. WINE: I am going to tender this witness.     7               You were asked some questions,
 8   Thank you.                                           8        Ms. Morales, about the release deeds that were
 9       THE WITNESS: Thank you.                          9        executed in this matter with regard to this loan.
10                 EXAMINATION                           10        And in particular, you were looking at release
11       By Mr. Stein:                                   11        deeds and how they appeared to have EquityBuild,
12       Q Good morning, Ms. Morales. My name is 12                Inc., which you testified was the borrower,
13   Max Stein. I am an attorney representing some of 13           releasing something to EquityBuild finance, LLC.
14   the individual investors who made loans on the      14               Do you recall that testimony?
15   properties that are involved in this loan.          15            A Yes.
16           I want to ask you a few follow-up           16            Q As you were testifying about that, you
17   questions on some of the things that you have been17          noted that the release deed was signed by
18   asked already this morning.                         18        EquityBuild Finance, LLC.
19           Earlier today you noted that it was         19               Do you remember saying that?
20   common for attorneys like Elizabeth Lemole of       20            A Yes.
21   Lincoln Land Services to be copied on emails early 21             Q Why was that notable to you?
22   in the transaction. And I want to follow-up with    22            A Because they are the lender or they were
23   you on that.                                        23        one of the lenders involved.
24           Do you remember that testimony?             24            Q Why would it be significant that
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                                                    Page 85                                                    Page 87
 1   EquityBuild Finance, LLC, as one of the lenders           1   been signing the document all along. That the
 2   involved was signing a release deed in which a            2   error is on EquityBuild, Inc.
 3   borrower was releasing something to the lender?           3           It's very common to get them confused
 4      A Based on what I just saw, I would say                4   sometimes since they share the names.
 5   that probably was a typo.                                 5      Q So what you are saying is you believe
 6      Q I am sorry, what was a typo?                         6   that in the text of the release, where it says that
 7      A The EquityBuild, Inc., versus                        7   EquityBuild, Inc., is releasing something to
 8   EquityBuild Finance and the proper party, the             8   EquityBuild Finance, LLC, the names of the two
 9   lender, one of the lenders signed it.                     9   entities should be reversed?
10      Q So what you are suggesting is you                   10      A Correct.
11   believe it was a typographical error, that               11      Q They are not reversed though, right?
12   EquityBuild Finance, LLC, as the lender was the          12      A They are not.
13   entity that signed the release deed in which             13      Q And so to your mind this release deed
14   EquityBuild, Inc., as the borrower was releasing         14   has the wrong party releasing something to the
15   something to EquityBuild Finance, LLC, as the            15   wrong party, right?
16   lender; is that right?                                   16      A Yes.
17      A I would think --                                    17      Q Okay. You also testified that title
18      MR. GALE: Objection; that mischaracterizes            18   insurance companies only look at what is, quote, on
19   what she said.                                           19   record. I want to make sure I understood what you
20           But you can go ahead.                            20   meant by on record.
21      MR. STEIN: Actually that was literally the            21           Can you explain that?
22   question. And she said yes.                              22      A On record is what's recorded in the
23      By Mr. Stein:                                         23   county recorder's office.
24      Q Is that right, Ms. Morales?                         24      Q So in publicly available documents
                                                    Page 86                                                    Page 88
 1       A I would think so.                                   1   recorded in the county where the property is
 2       Q Just one second. On your screen now,                2   located?
 3   Ms. Morales, you should see the document that was         3        A Correct.
 4   previously marked as EquityBuild Finance -- sorry,        4        Q Then you also mentioned that sometimes
 5   as Morales Exhibit 13.                                    5   title insurers will learn about other information
 6          Do you see that document in front of               6   from one of the parties. And you used the example
 7   you?                                                      7   of leases. Do you recall that testimony?
 8       A I do.                                               8        A I do.
 9       Q Are you able to read it?                            9        Q Can you explain what you meant by
10       A Are these in form satisfactory to you?             10   that?
11       Q Yes. Now I am going to scroll down in              11        A Not all leases are filed of record. So
12   that document to one of the release deeds.               12   you usually get like a title affidavit from a
13          Do you have that in front of you now?             13   borrowing entity -- I mean from the borrower or
14       A Yes.                                               14   from a seller, indicating items that may not be of
15       Q So this is the release deed in which               15   record affecting the property.
16   EquityBuild, Inc., is releasing something to             16        Q How would it be that the title insurer
17   EquityBuild Finance, LLC, right?                         17   would come to receive those, would it ask for them,
18       A Correct.                                           18   or would that be something that either the borrower
19       Q And it's your testimony now that you               19   or the lender provides on their own accord?
20   believe the fact that this is signed by EquityBuild      20        A When they sign the title affidavit, it's
21   Finance, LLC, is a typographical error; is that          21   kind of to confirm that if there is something out
22   right?                                                   22   there that is not of public record, that the
23       A No. I am saying that EquityBuild                   23   affidavit, they would hold them responsible.
24   Finance is the actual lender, so they should have        24        Q Thank you.
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                                                    Page 89                                                      Page 91
 1           Ms. Morales, you were asked questions             1   at Lincoln LAND Services or with the folks in
 2   about the payoff letter that was provided for the         2   Near North Title regarding the fact that this
 3   Muskegon property.                                        3   particular payoff letter was received from neither
 4           Do you recall that testimony?                     4   the lender nor the servicer?
 5       A Yes.                                                5       A I don't.
 6       Q I have attempted to put up on the screen            6       Q Do you recall any conversations with
 7   for you, on the right side of the screen is               7   anybody from BC57 as to concerns about the fact
 8   Exhibit 12, which contains a page 4 of                    8   that this particular payoff letter came from
 9   Exhibit 12, the payoff letter for the Muskegon            9   neither the lender nor the servicer?
10   property. And on the left side of the screen,            10       A I don't.
11   Morales Exhibit 6, which is the recorded mortgage        11       Q With regard to the other payoff letters,
12   for the Muskegon property.                               12   do you recall that those payoff letters similarly
13           Do you see those two things side by side         13   identified the lender as being the address of the
14   on your screen?                                          14   property followed by the word investors?
15       A I do.                                              15       A From what I recall.
16       Q Okay. In Exhibit 6, the mortgage is                16       Q Actually, if you look at the right side
17   identified as being given to, quote, capital T,          17   of your screen, here is one of those payoff letters
18   capital P, persons, capital L, listed, on Exhibit A      18   now.
19   to the mortgage, care -- C/O Hard Money Company,         19           Do you see that?
20   LLC.                                                     20       A Yes.
21           Do you see that?                                 21       Q Specifically we are looking at page 6 of
22       A Yes.                                               22   Exhibit 12, which is the payoff letter for the
23       Q You testified earlier that that language           23   7201 South Constance property.
24   identifies the lender who is receiving this              24           Is that right?
                                                    Page 90                                                      Page 92
 1   mortgage, right?                                    1             A Yes.
 2       A Correct.                                      2             Q This payoff letter identifies the lender
 3       Q If we look at Exhibit 12 on the right         3         as 7201 South Constance Investors Care Of
 4   side of your screen, the payoff letter from         4         EquityBuild Finance, LLC; is that right?
 5   Muskegon, for the Muskegon property, the payoff     5             A Correct.
 6   letter is identified as coming from 7752 South      6             Q And my question was, do you recall
 7   Muskegon Investors, Care Of EquityBuild Finance, 7            anywhere in the mortgages for the other properties
 8   LLC.                                                8         a reference to the property address followed by
 9            Do you see that?                           9         investors being seen in any of those mortgages?
10       A I see that.                                  10             A I don't recall.
11       Q Does the phrase 7752 South Muskegon          11             Q You don't recall seeing that or you
12   Investors appear anywhere on the mortgage to your12           don't recall and you would like to see those
13   knowledge?                                         13         mortgages? I want to make sure I understand your
14       A To my knowledge, no.                         14         testimony.
15       Q Does EquityBuild Finance, LLC, appear        15             A I don't recall seeing the address as
16   anywhere on the mortgage to your knowledge?        16         investors.
17       A It does not.                                 17             Q In the mortgage, right?
18       Q In your experience would a payoff letter     18             A Correct.
19   that is identified as coming from a lender care of 19             MR. MALINA: Just for clarification, I don't
20   a servicer, where neither the lender nor the       20         know that this witness has been shown every page of
21   servicer is identified in the mortgage, be a       21         every mortgage that is the subject of this series
22   concern for you as the title insurer?              22         of questions.
23       A It would.                                    23             MR. STEIN: Fair enough.
24       Q Okay. Do you recall any conversations        24             MR. MALINA: I believe you just flashed up the
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                                                 Page 93                                                      Page 95
 1   first page and I believe that's what she looked        1           If there is any other form of
 2   at.                                                    2   identification, like a loan number, an amount, or
 3       MR. STEIN: Fair enough.                            3   something like that, that we could cross reference,
 4       By Mr. Stein:                                      4   we would.
 5       Q Ms. Morales, do you want to see anymore          5       Q Did you undertake any of those steps in
 6   pages of any of the other mortgages?                   6   furtherance of verification with regard to any of
 7       A No.                                              7   the loans that Mr. Stein presented to you?
 8       Q Okay. Thank you.                                 8       A I did not. I'm not issuing -- Lincoln
 9           Would it be a concern -- in your               9   was not issuing the final policy.
10   experience, would it be a concern for a title         10       Q Are you aware of anyone, either
11   insurer if a payoff letter used a reference to        11   Lincoln or any of the people involved in the title
12   identify the lenders that did not appear in the       12   insurance process that you interfaced with making
13   mortgage itself?                                      13   those inquiries?
14       A It would be a concern. It would trigger         14       A I don't recall.
15   to see if there was an assignment that wasn't         15       Q If you received something -- I am sorry,
16   recorded or just an assignment that has to be         16   strike that.
17   presented.                                            17           We looked at several mortgages and
18       Q Do you recall any concerns with regard          18   payoff letters which contained the letters C/O. Do
19   to the loan that was ultimately made by BC57 as to    19   you understand that to mean care of?
20   the possibility of an unrecorded or unidentified      20       A I do.
21   assignment?                                           21       Q When you see care of in a document
22       A I don't.                                        22   related to a mortgage, is it your understanding
23       MR. STEIN: Okay. I have nothing further at        23   that that is the party to whom it is care of is a
24   this time.                                            24   servicer or does that denote something else to
                                                 Page 94                                                      Page 96
 1                   EXAMINATION                            1   you?
 2        By Mr. Kurtz:                                     2       A When I see it as a care of in a loan, it
 3        Q I guess it's afternoon now. Good                3   depends on the situation. In the case of a loan, I
 4   afternoon, Ms. Morales, my name is Michael Kurtz.      4   would assume that it's a servicer.
 5   I represent one of the investor lenders,               5       Q Would you make the assumption as a title
 6   1839 Fund I LLC regarding properties in this           6   officer writing policy that absent any other
 7   tranche.                                               7   documentation, that that servicer would have the
 8           I will try to be brief. I understand           8   authority to release a lien?
 9   it's been a long day already for you.                  9       A I would.
10           So you made a reference in the prior          10       Q Would you do any steps in furtherance of
11   questions that you would receive payoff letters for   11   verification of that servicer's authority to do
12   servicers for loans?                                  12   so?
13        A Yes.                                           13       A If the servicer is listed on the
14        Q Is that a common thing for you to              14   original mortgage, then, or unless there was an
15   receive as part of your business?                     15   assignment, I would not, if I already made the
16        A Yes.                                           16   connection.
17        Q So when you receive something from a           17       Q Would that still be the case if the
18   servicer, what steps, if any, do you take as part     18   lenders were individually listed in a mortgage, as
19   of your business to verify that that servicer has     19   they were in the mortgages that you were presented
20   authority to issue that payoff letter?                20   with earlier in this deposition?
21        A We would check to see if the payoff            21       A I am sorry?
22   referenced appropriate lender because it might be     22       Q I am sorry. That was confusing.
23   the servicer. But if the lender is on it, then we     23           Would you still make that assumption in
24   could confirm that way.                               24   the case of a mortgage where individual lenders
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                                                  Page 97                                                    Page 99
 1   other -- or lenders other than the servicer were        1      A I do not, no.
 2   listed on the face of the mortgage?                     2      MS. QUALLS: Thank you. No further questions.
 3       A I am not following. Are you saying the            3             FURTHER EXAMINATION
 4   lender without the care of?                             4      By Ms. Wine:
 5       Q Well, strike that question.                       5      Q Ms. Morales, let me just ask you one
 6            So you said to me that you would presume       6   other question relating to your testimony in
 7   that if there was a servicer, they would have           7   response to Mr. Kurtz.
 8   authority to execute a release mortgage on behalf       8          You testified that a payoff letter from
 9   of the lender.                                          9   a servicer is common?
10            Is that accurate to what you said?            10      MR. MALINA: Is what?
11       A If it's for a payoff purpose, and it             11      MS. WINE: Strike that.
12   lists the payoff, it listed it on there. But for       12      By Ms. Wine:
13   the release of the lien, it would have to be what's    13      Q Ms. Morales, you testified that
14   on record.                                             14   receiving a payoff letter from a servicer is a
15       Q That would include the individuals who           15   common event?
16   were listed on the face of the mortgage who you        16      A Yes. Correct.
17   considered to be lenders, correct?                     17      Q What I want to ask you is whether
18       A Usually not all of them would. I would           18   receiving a release from a servicer is a common
19   just go with the care of, who is the servicer.         19   event?
20       Q You would take no independent action to          20      A It could be. Maybe. Yeah.
21   verify the authority of that servicer to do so?        21               (A document was marked as Morales
22       A I don't believe.                                 22                Deposition Exhibit No. 16 for
23       MR. KURTZ: Nothing further.                        23                identification.)
24                FURTHER EXAMINATION                       24
                                                  Page 98                                                   Page 100
 1       By Ms. Qualls:                                 1            By Ms. Wine:
 2       Q I just have a couple questions, but I        2            Q Okay. I am going to share with you now
 3   will be very brief.                                3        what was marked as Exhibit 16. Do you see that on
 4           This is Alyssa Qualls again from the       4        the screen? Can you see that?
 5   Securities and Exchange Commission.                5            A Yes.
 6           Referring you back to your testimony       6            Q Okay. Again, this release was by
 7   about a typo appearing on one of the release deeds 7        EquityBuild, Inc. Hang on. I am going to use one
 8   that you were shown. I just wanted to better       8        of the release deeds that actually said EquityBuild
 9   understand that.                                   9        Finance, which we looked at earlier.
10           Do you know one way or the other whether 10                 Turning your attention back to
11   it was a typo?                                    11        Exhibit 8, the release is from EquityBuild Finance.
12       A I don't. Ultimately for you to confirm      12                My question is, if it was a servicer
13   that is what was put on record. I would assume    13        that is providing the release, would you expect the
14   those releases are now of record.                 14        release to be from the servicer or the release to
15       Q They are. I can show you the releases,      15        be from the lenders, care of the servicer?
16   that they were recorded.                          16            A On this case since they are listed,
17           But does that prove one way or the other  17        EquityBuild Finance was listed on the mortgage as
18   whether it was a typo or not?                     18        care of, I would have taken that release.
19       A No. No.                                     19            Q So the release would not have to refer
20       Q And you weren't involved with -- you        20        to the lenders at all, to say that the servicer is
21   didn't write the releases, right?                 21        releasing on behalf of the lenders, just the
22       A I did not.                                  22        servicer can release the lien on its own, is that
23       Q So you don't know one way or the other      23        your testimony?
24   whether it was a typo or not?                     24            A I would think, yep.
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                                                          Page 101                                                   Page 103
 1     MS. WINE: I have no further questions.                         1 STATE OF ILLINOIS )
 2     MR. MALINA: Anybody else?                                                       )SS:
 3            (No response.)                                          2 COUNTY OF DU PAGE )
 4     MR. MALINA: Then we are done.                                  3
 5     MR. STEIN: Thank you everybody.                                4        I, PEGGY CURRAN, CSR, CRR, License
 6     THE WITNESS: Thank you.                                        5 No. 084-002016, notary public within and for the
 7     MR. GALE: Peggy, same with this one as the                     6 County of DuPage and State of Illinois, do hereby
 8 other transcript. I just want it when the other                    7 certify that heretofore, to wit, on the 3rd day of
                                                                      8 November, 2021, MARIBEL MORALES personally appeared
 9 folks get it if I could.
                                                                      9 before me as a witness in a cause now pending and
10     MR. STEIN: We are ordering it.
                                                                     10 undetermined in the United States District Court,
11     MR. MALINA: Signature is reserved, yes.
                                                                     11 Northern District of Illinois, Eastern Division,
12
                                                                     12 wherein SEC is plaintiff and EquityBuild, Inc.,
13             DEPOSITION CONCLUDED
                                                                     13 et al., are defendants, No. 18-cv-5587.
14
                                                                     14        I further certify that the said MARIBEL
15                                                                   15 MORALES was by me first duly sworn to testify to
16                                                                   16 the truth, the whole truth and nothing but the
17                                                                   17 truth in the cause aforesaid before the taking of
18                                                                   18 his deposition; that the testimony given was
19                                                                   19 stenographically recorded in the presence of said
20                                                                   20 witness by me, and afterwards transcribed upon a
21                                                                   21 computer, and that the foregoing is a true and
22                                                                   22 correct transcript of said testimony.
23                                                                   23        I further certify that there were present
24                                                                   24 at the taking of the deposition the aforementioned
                                                          Page 102                                                   Page 104
 1         IN THE UNITED STATES DISTRICT COURT                        1   counsel.
              NORTHERN DISTRICT OF ILLINOIS
 2                EASTERN DIVISION                                    2         I further certify that I am not counsel
 3   SEC,                     )                                       3   for nor in any way related to any of the parties to
                          )
 4              Plaintiff, )                                          4   this suit, nor am I in any way interested in the
                          )                                           5   outcome thereof.
 5       vs.                )No. 18-cv-5587
                                                                      6         In testimony whereof, I have hereunto set
                          )
 6   EquityBuild, Inc., et al., )                                     7   my hand and seal this 15th day of November, 2021.
                          )                                           8
 7              Defendants. )
 8          I, MARIBEL MORALES, being first virtually                 9
 9   duly sworn, on oath, say that I am the deponent in              10
10   the aforesaid deposition, and that I have read the
11   foregoing transcript of my deposition, consisting
                                                                     11              ______________________________
12   of pages 1 through 104, inclusive, taken on                     12              Notary Public
13   November 3, 2021, at the aforesaid place and that               13              DuPage County, Illinois
14   the foregoing is a true and correct transcript of
15   my testimony so given.                                          14              CSR No. 084-002016
16                                                                   15
                _____ corrections were made
17                                                                   16
                _____ no corrections were made                       17
18
                                                                     18
19              ________________________________
                  MARIBEL MORALES                                    19
20                                                                   20
21 SUBSCRIBED AND SWORN TO
   before me this ______ day                                         21
22 of _____ , 2021.                                                  22
23
   _________________________
                                                                     23
24 Notary Public                                                     24
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